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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re
                                                     Chapter 11
FCC HOLDINGS, INC., et al.,1
                                                     Case No. 14-11987 (CSS)
                          Debtors.                   (Jointly Administered)



             CERTIFICATION OF COUNSEL REGARDING STIPULATION
              PROVIDING FOR (I) PAYMENT OF OUTSTANDING FUNDS
                         AND (II) RELEASE OF CLAIMS

        Evan T. Miller, an attorney with the law firm of Bayard, P.A., counsel to IEC

Corporation (“IEC”), hereby certifies the following:

        1.         On August 25, 2014 (the “Petition Date”), certain of the above-captioned

debtors (the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of

the U.S. Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).                              On

September 14, 2014, Florida Career College, Inc. (“FCC”) also filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code.

        2.         Prior to the Petition Date, and for some period of time thereafter, FCC

retained Continental Service Group, Inc. (“ConServe”) to provide collection services on

the FCC’s behalf.

        3.         In connection with services rendered for FCC prior to and/or following the

Petition Date, ConServe had in its possession $9,783.84 in funds owed but not delivered

to FCC (the “Unpaid Funds”).
        1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
TIN, are: FCC Holdings, Inc. (2598); Education Training Corporation (1478); high-Tech Institute
Holdings, Inc. (4629); EduTech Acquisition Corporation (8490); High-Tech Institute, Inc. (3099); and
Florida Career College, Inc. (8490).
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         4.         On August 21, 2014, the Debtors and IEC entered into that certain

Amended and Restated Asset Purchase Agreement [D.I. 27] (the “Asset Purchase

Agreement”), pursuant to which, among other things, the Debtors agreed to sell and

assign and IEC agreed to buy and assume certain of the Debtors’ assets and liabilities.

         5.         On September 22, 2014, the Bankruptcy Court approved the sale of certain

of the Debtors’ assets to IEC according to the terms of the Asset Purchase Agreement

through its Order (I) Approving Asset Purchase Agreement and Authorizing the Sale of

Certain Assets of Debtors Outside the Ordinary Course of Business; (II) Authorizing the

Sale of Certain Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests;

(III) Authorizing the Assumption, Sale and Assignment of Certain Executory Contracts

and Expired Leases; (IV) Approving Bid Protections and (V) Granting Related Relief

[D.I. 166] (the “Sale Order”).

         6.         Pursuant to section 2.1(a) of the Asset Purchase Agreement, IEC

purchased all of the selling Debtors’ accounts receivable including, but not limited to, the

right to payment of the Unpaid Funds.2




         2
             Section 2.1(a) of the Asset Purchase Agreement provides:
                              [T]he FCC Acquired Assets shall include [the Debtor’s] right,
                    title and interest in and to . . . all accounts receivable[,] . . . notes
                    receivable, negotiable instruments, chattel paper (including without
                    limitation, completed work which has not yet been billed) and other
                    receivables (including, without limitation, in respect of students,
                    products sold, licenses granted, services rendered or otherwise
                    associated with the [Debtor’s] Business and all amounts that may be
                    returned or returnable with respect to letters of credit drawn down prior
                    to First Closing) from third parties, together with any unpaid financing
                    charges accrued thereon.
         Asset Purchase Agreement, § 2.1(a).
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         7.        IEC, ConServe, and Clingman & Hanger Management Associates, LLC,

as Trustee of the liquidating trust established by the Debtors’ chapter 11 plan of

liquidation [D.I. 373] (the “Trustee” and, together with IEC and ConServe, the

“Parties”) have agreed to the terms set forth in the Stipulation Providing for (I) Payment

of Outstanding Funds and (II) Release of Claims (the “Stipulation”), substantially

providing for (i) payment of the Unpaid Funds by ConServe to IEC and (ii) upon IEC’s

receipt of such payment, a mutual release of all claims related to the Unpaid Funds. A

copy of the Stipulation, as executed by the Parties on May 17, 2018, is attached to the

Proposed Order (as defined below) as Exhibit 1.

         8.        The undersigned respectfully requests that the Court enter an order,

substantially in the form attached hereto as Exhibit A (the “Proposed Order”),

approving the Stipulation at its earliest convenience.

Dated: May 17, 2018                             BAYARD, P.A.
Wilmington, DE
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